
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 96-1006

                         RALPH M. NOWAK, ADMINISTRATOR OF THE
                          ESTATE OF SALLY ANN NOWAK, ET AL.,

                               Plaintiffs - Appellees,

                                          v.

                              TAK HOW INVESTMENTS, LTD.,
                     d/b/a HOLIDAY INN CROWNE PLAZA HARBOUR VIEW,

                                Defendant - Appellant.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF MASSACHUSETTS

                     [Hon. William G. Young, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Stahl, Circuit Judge,
                                       _____________

                            Coffin, Senior Circuit Judge,
                                    ____________________

                            and Cummings,* Circuit Judge.
                                           _____________

                                _____________________

               Alan  B.  Rubenstein,   with  whom  Robert  B.   Foster  and
               ____________________                ___________________
          Rackemann, Sawyer &amp; Brewster were on brief for appellant.
          ____________________________
               Edward Fegreus for appellees.
               ______________



                                 ____________________

                                   August 22, 1996
                                 ____________________

                              
          ____________________

          *  Of the Seventh Circuit, sitting by designation.














                    CUMMINGS, Circuit Judge.1  A Massachusetts resident who
                    CUMMINGS, Circuit Judge.
                              _____________

          accompanied her husband  on a business trip to  Hong Kong drowned

          in their hotel's  swimming pool.   Plaintiffs later brought  this

          wrongful death diversity action against the Hong Kong corporation

          that  owns  the hotel  --  a  corporation that  has  no  place of

          business outside of  Hong Kong.   Defendant moved for  dismissal,

          arguing  that a Massachusetts  court could not  exercise personal

          jurisdiction consistently  with due  process and,  alternatively,

          that the  case should be  dismissed on the  grounds of forum  non
                                                                 __________

          conveniens.  The  district court denied both motions,  and we now
          __________

          affirm.



                                          I.

                    Tak How is a Hong  Kong corporation with its only place

          of business in  Hong Kong.   Its  sole asset is  the Holiday  Inn

          Crowne Plaza Harbour View in Hong Kong ("Holiday Inn"), where the

          accident  in  this  case took  place.   Tak  How  has  no assets,

          shareholders, or  employees in  Massachusetts.   Sally Ann  Nowak

          ("Mrs. Nowak")  was at  all relevant  times married  to plaintiff

          Ralph  Nowak  ("Mr. Nowak")  and  was  the  mother of  their  two

          children  (collectively, the plaintiffs  are "the Nowaks").   The

          Nowaks  lived in  Marblehead, Massachusetts,  and  Mr. Nowak  was

                              
          ____________________

          1  Section II.A. was authored by  Judge Coffin.  This opinion was
          circulated  to the  active  judges of  the  First Circuit  before
          issuance.    This  informal  circulation,   however,  is  without
          prejudice to  a petition for  rehearing or suggestion of  en banc
          reconsideration on any issue in the  case.  NLRB v. Hospital  San
                                                      ____    _____________
          Rafael, Inc., 42 F.3d 45, 51 n.1 (1st Cir. 1994).
          ____________

                                         -2-














          employed  by  Kiddie  Products,  Inc., which  has  its  place  of

          business  in Avon, Massachusetts.  Kiddie Products does extensive

          business in Hong  Kong.  As  a Preliminary Design Manager  in the

          Marketing  Department,  Mr. Nowak  customarily made  two business

          trips to Hong Kong each year,  accompanied by his wife on one  of

          those trips.

                    Kiddie Products employees  had made trips to  Hong Kong

          since at least 1982, but  the company's relationship with Tak How

          and the Holiday Inn began only in 1992.  John Colantuone, a vice-

          president, was one  such employee who had travelled  to Hong Kong

          since 1982  and had stayed  at various other hotels.   Colantuone

          was acquainted  with the  Holiday Inn  through advertisements  on

          Hong Kong  radio in 1983 or 1984, but  only decided to stay there

          in  1992 after  becoming  dissatisfied with  the  rates at  other

          hotels.   On  his first  visit, Colantuone  met with  the Holiday

          Inn's  sales manager to negotiate a corporate discount for Kiddie

          Products employees.  Holiday Inn agreed to the discount and wrote

          a letter confirming the arrangement  based on a minimum number of

          room nights per  year.  Marie Burke,  Colantuone's administrative

          assistant,  made   all  hotel  reservations   for  the  company's

          employees.   Although Kiddie Products regularly compared rates at

          other  hotels, Burke  was told  to book  all reservations  at the

          Holiday  Inn  until  instructed otherwise.    Since  1992, Kiddie

          Products employees have stayed exclusively at the Holiday Inn.

                    In June 1993,  the Holiday Inn telecopied  Colantuone a

          message announcing  new  corporate rates  and  other  promotional


                                         -3-














          materials.  Burke requested additional information, and the hotel

          promptly responded.  In July 1993, after a series of exchanges by

          telecopier,  Burke sent a reservation  request to the Holiday Inn

          for several employees for September and October 1993.  One of the

          reservations was  for Mr. and  Mrs. Nowak to arrive  on September

          16.  On September 18, while the Nowaks were registered guests  at

          the hotel, Mrs. Nowak  drowned in the hotel  swimming pool.   The

          specific facts surrounding  her death are not relevant  here.  It

          is  uncontested that  in 1992  and  1993, prior  to Mrs.  Nowak's

          death, Tak How advertised the Holiday Inn in certain national and

          international   publications,  some   of   which  circulated   in

          Massachusetts.    In addition,  in  February 1993,  Tak  How sent

          direct mail solicitations to approximately 15,000 of its previous

          guests, including previous guests residing in Massachusetts.

                    The  Nowaks  filed  this   wrongful  death  action   in

          Massachusetts state court in June 1994.  Tak How then removed the

          case to federal district court and filed two motions to dismiss -

          - one for  lack of  personal jurisdiction under  Fed. R. Civ.  P.

          12(b)(2) and  the other for  forum non conveniens.   The district
                                       ____________________

          court initially  denied  the  motion  to dismiss  for  forum  non
                                                                 __________

          conveniens,  and  then, after  allowing  time for  jurisdictional
          __________

          discovery,  issued  a  memorandum  and  order  denying  the  Rule

          12(b)(2) motion.  Nowak v. Tak How Inv. Ltd., 899 F. Supp. 25 (D.
                            _____    _________________

          Mass. 1995).   The  district court granted  Tak How's  motion for

          certification  of the jurisdictional issue, but this Court denied

          Tak How's  request for  a stay of  the district  court proceeding


                                         -4-














          pending appeal.  Nonetheless, believing that a resulting judgment

          would not be enforceable in Hong Kong, Tak How did not answer the

          Nowaks' complaint.   Accordingly,  the district  court entered  a

          default judgment  against  Tak How  for $3,128,168.33.   Tak  How

          appeals the denial of its Rule 12(b)(2)  motion and its motion to

          dismiss the case for forum non conveniens.
                               ____________________



                                         II.

                    We  first  review the  denial  of Tak  How's  motion to

          dismiss for  lack of personal  jurisdiction.  The  district court

          employed  a  prima  facie standard  in  making  its determination

          rather than adjudicating  the jurisdictional facts.   See Foster-
                                                                    _______

          Miller, Inc. v. Babcock &amp; Wilcox  Can., 46 F.3d 138, 145-147 (1st
          ____________    ______________________

          Cir. 1995).   Both the court's  decision to use  the prima  facie

          standard and its conclusion  under that standard are  reviewed de
                                                                         __

          novo.  Id.  at 147.  To  begin, we find no error  in the district
          ____   ___

          court's  choice  of  the  prima facie  standard.    A  full-blown

          evidentiary hearing was  not necessary in  this case because  the

          facts  were, in  all  essential respects,  undisputed.   In  such

          circumstances, the prima  facie standard is both  appropriate and

          preferred.   Id. at 145; Boit  v. Gar-Tec Prods., Inc.,  967 F.2d
                       ___         ____     ____________________

          671, 675-676 (1st Cir. 1992).

                    The next question is whether the district court reached

          the proper result.  In diversity cases such as this, the district

          court's  personal  jurisdiction over  a nonresident  defendant is

          governed  by the  forum state's  long-arm statute.   Sawtelle  v.
                                                               ________


                                         -5-














          Farrell,  70  F.3d  1381,  1387  (1st  Cir.  1995).    Under  the
          _______

          Massachusetts statute,

                      [a]   court    may   exercise    personal
                      jurisdiction  over  a  person,  who  acts
                      directly or by an agent, as to a cause of
                      action in  law or equity arising from the
                      person's .  . . transacting  any business
                      in this Commonwealth.

          Mass. Gen.  Laws Ann.  ch.  223A,    3(a)  (1985).   The  statute

          imposes constraints on personal jurisdiction that go beyond those

          imposed by the Constitution.  Gray v. O'Brien, 777 F.2d  864, 866
                                        ____    _______

          (1st Cir.  1985).   We must  therefore  find sufficient  contacts

          between the  defendant and  the forum state  to satisfy  both the

          Massachusetts long-arm statute and  the Constitution.   Sawtelle,
                                                                  ________

          70 F.3d at 1387.

                    To satisfy  the requirements  of the  long-arm statute,

          Section  3(a), the  defendant must  have  transacted business  in

          Massachusetts and the plaintiffs' claim must have arisen from the

          transaction of business  by the defendant.  Tatro  v. Manor Care,
                                                      _____     ___________

          Inc.,  625   N.E.2d  549,  551   (Mass.  1994).    In   Tatro,  a
          ____                                                    _____

          Massachusetts  plaintiff  sued  a California  hotel  for injuries

          sustained in California.   The Court  concluded that the  hotel's

          solicitation of  business from Massachusetts  residents satisfied

          the "transacting any  business" requirement of Section  3(a), id.
                                                                        ___

          at 551-552, and that the "arising from" requirement was satisfied

          where,  but for  the  hotel's  solicitations  and  acceptance  of

          reservations,  the plaintiff  would  not  have  been  injured  in

          California.   Id. at 554.   The factual  scenario in the  present
                        ___

          case  is analogous in  all essential  respects, and  we therefore

                                         -6-














          have little  difficulty concluding that sufficient contacts exist

          to satisfy Section 3(a)'s requirements.

                    Turning to  the constitutional  restraints, this  Court

          follows  a tripartite analysis  for determining the  existence of

          specific personal jurisdiction (plaintiffs do not  allege general

          personal jurisdiction):

                      First,   the    claim   underlying    the
                      litigation must directly arise out of, or
                      relate  to,  the  defendant's forum-state
                      activities.    Second,   the  defendant's
                      forum-state  contacts  must  represent  a
                      purposeful availment of  the privilege of
                      conducting activities in the forum state,
                      thereby   invoking   the   benefits   and
                      protections  of  that  state's  laws  and
                      making   the    defendant's   involuntary
                      presence   before   the   state's   court
                      foreseeable.    Third,  the  exercise  of
                      jurisdiction  must,   in  light   of  the
                      Gestalt factors, be reasonable.

          Pritzker  v. Yari,  42 F.3d  53, 60-61  (1st Cir.  1994) (quoting
          ________     ____

          United Elec.  Workers v. 163  Pleasant St. Corp., 960  F.2d 1080,
          _____________________    _______________________

          1089 (1st Cir. 1992)), cert. denied, 115 S. Ct. 1959.
                                 ____________



                                   A.  Relatedness

                    What this  Court calls  the "relatedness"  test is  one

          aspect   of   demonstrating    minimum   contacts   pursuant   to

          International Shoe  Co. v. Washington,  326 U.S. 310.   The other
          _______________________    __________

          aspect, discussed  below, focuses  on the  deliberateness of  the

          defendant's  contacts,  or  purposeful  availment.    Tak   How's

          principal  argument  on  appeal is  that  relatedness  requires a

          proximate   cause   relationship   between   its  contacts   with

          Massachusetts and the Nowaks' cause of action. 

                                         -7-














                    In  arguing for a proximate cause relatedness test, Tak

          How  relies on  a series  of First  Circuit cases  beginning with

          Marino v. Hyatt Corp., 793 F.2d 427 (1st Cir. 1986).  See Crocker
          ______    ___________                                     _______

          v. Hilton  Int'l Barbados,  Ltd., 976 F.2d  797 (1st  Cir. 1992);
             _____________________________

          Fournier  v. Best  Western Treasure  Island Resort, 962  F.2d 126
          ________     _____________________________________

          (1st Cir. 1992);  Pizarro v.  Hoteles Concorde  Int'l, C.A.,  907
                            _______     _____________________________

          F.2d 1256 (1st  Cir. 1990).  In  each of these cases,  this Court

          construed the language of a  state long-arm statute requiring, as

          does the Massachusetts  statute quoted above,  that the cause  of

          action "arise" from  the forum-state contacts.   Construing those

          statutes,  we rejected plaintiffs'  arguments that the  injury at

          issue would not have occurred "but for" the forum-state contacts.

          Instead, we held  that the defendant's conduct must  be the legal

          or proximate cause of the injury.  Pizarro, 907 F.2d at 1260.
                                             _______

                    At least for purposes  of construing the  Massachusetts

          long-arm  statute, the  Supreme Judicial  Court of  Massachusetts

          dealt  our  restrictive  interpretation a  fatal  blow  in Tatro,
                                                                     _____

          supra.    The  Court decided  that  the  "but for"  test  is more
          _____

          consistent   with  the  language  of  the  long-arm  statute  and

          explicitly  rejected our  interpretation of  the  statute in  the

          Marino line of cases.  625  N.E.2d at 553.  Personal jurisdiction
          ______

          was  proper in Tatro  because the California  hotel had solicited
                         _____

          business in Massachusetts and had agreed to provide the plaintiff

          with accommodations; but for those acts,  the plaintiff would not

          have been injured.  Id. at 554.
                              ___




                                         -8-














                    Tak How contends that Tatro was not fatal to Marino and
                                          _____                  ______

          its progeny.  It concedes, as  it must, that Tatro is controlling
                                                       _____

          insofar as it  deals with the  construction of the  Massachusetts

          long-arm  statute, but insists that the relatedness discussion in

          Marino had  constitutional significance as well.  Its position is
          ______

          not  without support.   In  Pleasant Street,  we stated  that the
                                      _______________

          Massachusetts  statute's relatedness  requirement "mirrors  a key

          constitutional   requirement  for   the   exercise  of   specific

          jurisdiction."     960  F.2d  at  1087.     Then,  in  explaining

          constitutional   relatedness,  we   set  forth   proximate  cause

          principles derived  from the Marino  line of cases.   See  id. at
                                       ______                        ___

          1089.

                    The Nowaks, on the other  hand, argue that these  cases

          have no  constitutional significance.   They find support  from a

          footnote in Ticketmaster-New York,  Inc. v. Alioto, 26  F.3d 201,
                      ____________________________    ______

          207 n.8 (1st Cir. 1994):

                      In our view, [the Marino line of cases] -
                                        ______
                      - which interpret the term "arising from"
                      as  that  term is  used  in  the long-arm
                      statutes  of Massachusetts  -- deal  with
                      state-law   issues  and   have  no   real
                      implication    for    the     relatedness
                      requirement    specifically     or    for
                      constitutional analysis generally. 

          (citations omitted).

                    Despite the apparent conflict, these cases are arguably

          reconcilable.   After all,  Ticketmaster did not  directly reject
                                      ____________

          Pleasant Street  or the proximate  cause test, but  merely stated
          _______________

          the  evident fact  that  the  Marino line  of  cases centered  on
                                        ______

          interpretations of  state law.   It might follow, then,  that our

                                         -9-














          discussion  in Pleasant  Street should  govern  our course  here.
                         ________________

          Pleasant  Street, however, as well as Ticketmaster, described the
          ________________                      ____________

          relatedness concept in  only the most general way.   Neither case

          specifically defined the  precise inquiry  under the  relatedness

          test  in this  circuit.   Fortunately, however, these  cases, and

          others, articulated certain principles that guide our inquiry.  

                    As  an  initial matter,  "[w]e  know  .  . .  that  the

          [relatedness]  requirement  focuses  on  the  nexus  between  the

          defendant's  contacts  and  the  plaintiff's  cause  of  action."

          Ticketmaster,  26  F.3d  at  206.   The  requirement  serves  two
          ____________

          purposes.

                      First,  relatedness is  the divining  rod
                      that   separates  specific   jurisdiction
                      cases  from  general  jurisdiction cases.
                      Second, it  ensures that  the element  of
                      causation remains in the forefront of the
                      due process investigation.

          Id.   Most courts  share this emphasis  on causation,  but differ
          ___

          over  the proper  causative threshold.    Generally, courts  have

          gravitated toward one of two  familiar tort concepts -- "but for"

          or "proximate cause."

                    The Ninth Circuit is the most  forceful defender of the

          "but for" test.   In Shute v.  Carnival Cruise Lines,2  the court
                               _____     _____________________

          stated that "but for" serves the basic function of relatedness by

                              
          ____________________

          2    Shute was  reversed  by  the  Supreme Court  on  alternative
               _____
          grounds.   499 U.S. 585.   As reflected by subsequent  cases, the
          Ninth Circuit still adheres to  the "but for" test.  See  Ballard
                                                               ___  _______
          v. Savage, 65 F.3d 1495, 1500 (9th Cir. 1995); Terracom v. Valley
             ______                                      ________    ______
          Nat'l Bank,  49 F.3d 555, 561 (9th Cir. 1995).  But see Omeluk v.
          __________                                      ___ ___ ______
          Langsten Slip &amp;  Batbyggeri A/S, 52 F.3d 267, 271 (9th Cir. 1995)
          _______________________________
          (questioning Shute's authority).
                       _____

                                         -10-














          "preserv[ing]  the  essential  distinction  between  general  and

          specific jurisdiction."   897 F.2d 377,  385 (9th Cir. 1990).   A

          more  stringent standard, the court asserted, "would represent an

          unwarranted  departure from the  core concepts of  'fair play and

          substantial justice,'" because it would preclude  jurisdiction in

          cases where it would  be reasonable.   Id. at 386.   In turn,  in
                                                 ___

          those cases where "but for" might lead to an unreasonable result,

          the court  predicted that the  third prong --  the reasonableness

          inquiry -- would guard against unfairness. 

                    Shute  and  its  progeny represent  the  only  explicit
                    _____

          adoption of  the "but for"  test.  Nonetheless, cases  from other

          circuits suggest a  similar approach.   In Prejean v.  Sonatrach,
                                                     _______     __________

          Inc., the Fifth Circuit noted: 
          ____

                      Logically,  there is no reason why a tort
                      cannot grow out of a contractual contact.
                      In  a  case  like   this,  a  contractual
                      contact is  a "but for"  causative factor
                      for the tort since it brought the parties
                      within  tortious  "striking  distance" of
                      one  another.    While  the  relationship
                      between  a tort  suit  and a  contractual
                      contact  is certainly  more tenuous  than
                      when  a tort  suit  arises  from  a  tort
                      contact,  that only  goes to  whether the
                      contact is by  itself sufficient for  due
                      process, not whether the suit arises from
                      the contact.

          652  F.2d 1260,  1270 n.21  (5th Cir.  1981).   Subsequent cases,

          however, have  not always  followed this teaching.   See  Luna v.
                                                                    ____

          Compa  a Paname a de Aviaci n, S.A.,  851 F. Supp. 826, 832 (S.D.
          ___________________________________

          Tex. 1994) (employing a proximate cause standard); Kervin  v. Red
                                                             ______     ___

          River Ski Area, Inc.,  711 F. Supp. 1383, 1389-1390  &amp; n.11 (E.D.
          ____________________

          Tex. 1989) (same).

                                         -11-














                    The  Sixth Circuit  applies a  "substantial connection"

          standard.   See Third Nat'l  Bank v.  WEDGE Group Inc.,  882 F.2d
                          _________________     ________________

          1087, 1091 (6th Cir. 1989), cert. denied, 493 U.S. 1058; Southern
                                      ____________                 ________

          Mach. Co.  v. Mohasco  Indus., Inc. 401  F.2d 374, 384  n.27 (6th
          _________     _____________________

          Cir. 1968).   The court's discussion in Lanier  v. American Board
                                                  ______     ______________

          of Endodontics, 843 F.2d  901, 908-911 (6th Cir.  1988), however,
          ______________

          suggests that a  "but for" relationship survives the  due process

          inquiry.

                    Finally, the  Seventh Circuit  has upheld  jurisdiction

          under the  Illinois long-arm statute, and the Due Process Clause,

          for claims that "lie in the wake of the  commercial activities by

          which the defendant submitted to the jurisdiction of the Illinois

          courts."  See Deluxe Ice Cream Co. v. R.C.H. Tool Corp., 726 F.2d
                        ____________________    _________________

          1209, 1215-1216 (7th  Cir. 1984) (breach of warranty);  In re Oil
                                                                  _________

          Spill  by Amoco  Cadiz, 699  F.2d  909, 915-916  (7th Cir.  1983)
          ______________________

          (indemnity action),  cert. denied,  464 U.S. 864.   Whether  this
                               ____________

          indeterminate  standard   would  encompass   tortious  negligence

          committed outside the  forum is unknown.  Cf.  Simpson v. Quality
                                                         _______    _______

          Oil Co., 723 F. Supp. 382, 388 &amp; n.4 (S.D. Ind. 1989) (suggesting
          _______

          that  relatedness  is  limited  to  those  contacts substantively

          related to the cause of action).

                    On the other hand, the  Second and Eighth Circuits,  as

          well as this  one, appear to approve a  proximate cause standard.

          See Pleasant Street, 960 F.2d at 1089; Pearrow v. National Life &amp;
              _______________                    _______    _______________

          Accident Ins. Co.,  703 F.2d 1067, 1069 (8th  Cir. 1983); Gelfand
          _________________                                         _______

          v.  Tanner Motor  Tours, Ltd.,  339  F.2d 317,  321-322 (2d  Cir.
              _________________________


                                         -12-














          1964).   The  courts  in  Pearrow and  Gelfland  found that,  for
                                    _______      ________

          purposes of the  long-arm statute at issue,  non-forum negligence

          claims did not  arise from in-forum solicitation or ticket sales.

          District  courts from the  Third and Tenth  circuits have reached

          similar results.  See Wims v. Beach  Terrace Motor Inn, Inc., 759
                                ____    ______________________________

          F. Supp. 264,  267-268 (E.D. Pa. 1991); Dirks  v. Carnival Cruise
                                                  _____     _______________

          Lines, 642 F. Supp. 971, 975 (D. Kan. 1986).
          _____

                    This  circuit, whether  accurately  or  not,  has  been

          recognized as the main proponent of the proximate cause standard.

          We think the  attraction of proximate cause is  two-fold.  First,

          proximate  or   legal   cause   clearly   distinguishes   between

          foreseeable  and unforeseeable  risks of  harm.   See  Peckham v.
                                                                 _______

          Continental Casualty Ins. Co., 895 F.2d 830, 836 (1st Cir. 1990).
          _____________________________

          Foreseeability  is  a  critical  component  in  the  due  process

          inquiry, particularly  in evaluating purposeful availment, and we

          think  it  also informs  the  relatedness  prong.   See  Pleasant
                                                                   ________

          Street, 960 F.2d  at 1089.  As  the Supreme Court said  in Burger
          ______                                                     ______

          King Corp. v. Rudzewicz,
          __________    _________

                      [the Due process  Clause] requir[es] that
                      individuals  have  "fair warning  that  a
                      particular activity may subject [them] to
                      the jurisdiction  of a  foreign sovereign
                      . . . ."       [T]his   "fair    warning"
                      requirement is satisfied if the defendant
                      has    "purposefully     directed"    his
                      activities at residents of the forum, and
                      the  litigation   results  from   alleged
                      injuries that "arise out of or relate to"
                      those activities.  

          471 U.S. 462,  472.  Adherence  to a proximate cause  standard is

          likely  to enable defendants  better to anticipate  which conduct


                                         -13-














          might subject them to a  state's jurisdiction than a more tenuous

          link in the chain of  causation.  Certainly, jurisdiction that is

          premised  on  a contact  that  is a  legal  cause  of the  injury

          underlying  the controversy -- i.e., that "form[s] an 'important,
                                         ____

          or [at  least] material,  element of  proof'  in the  plaintiff's

          case," Pleasant Street, 960 F.2d at 1089 (citation omitted) -- is
                 _______________

          presumably reasonable, assuming, of course, purposeful availment.

                    As  our discussion  suggests,  and notwithstanding  any

          contrary  implication from the footnote in Ticketmaster, we think
                                                     ____________

          the proximate cause standard better comports with the relatedness

          inquiry  because it  so easily  correlates  to foreseeability,  a

          significant component of the jurisdictional inquiry.  A "but for"

          requirement,  on  the  other  hand,  has  in itself  no  limiting

          principle; it literally  embraces every event that  hindsight can

          logically identify  in the causative  chain.  True, as  the Ninth

          Circuit has  noted, courts  can use the  reasonableness prong  to

          keep Pandora's jar  from opening too wide.   But to say  that the

          harm that might be done by one factor can be prevented by another

          is not, after all, an affirmative justification for the former.

                    That being said, we are persuaded that strict adherence

          to  a   proximate  cause   standard  in   all  circumstances   is

          unnecessarily restrictive.   The  concept of  proximate cause  is

          critically important in the  tort context because it defines  the

          scope of a  defendant's liability.  In contrast,  the first prong

          of the jurisdictional  tripartite test is  not as rigid:   it is,

          "relatively  speaking, .  . .  a  'flexible, relaxed  standard.'"


                                         -14-














          Sawtelle, 70 F.3d at 1389  (citation omitted).  We see  no reason
          ________

          why, in  the context of  a relationship between a  contractual or

          business  association and  a  subsequent  tort,  the  absence  of

          proximate cause  per  se should  always  render the  exercise  of

          specific jurisdiction unconstitutional.  

                    When a foreign  corporation directly targets  residents

          in  an ongoing  effort to  further  a business  relationship, and

          achieves its purpose,  it may not necessarily  be unreasonable to

          subject that corporation  to forum jurisdiction when  the efforts

          lead  to  a  tortious  result.   The  corporation's  own  conduct

          increases  the likelihood that  a specific resident  will respond

          favorably.  If the resident is harmed while engaged in activities

          integral to the relationship the corporation sought to establish,

          we think  the nexus between the contacts  and the cause of action

          is  sufficiently  strong to  survive the  due process  inquiry at

          least at the relatedness stage.

                    This concept represents a small overlay of "but for" on

          "proximate cause."  In a sense it is a narrower and more specific

          identification   of  the   Seventh   Circuit's  formulation   for

          jurisdiction-worthiness  of   claims  lying  "in   the  wake"  of

          commercial activities in  the forum.  It may be  that other kinds

          of  fact patterns  will  be found  to  meet the  basic factor  of

          foreseeability, but  we have no  occasion here to  pronounce more

          broadly.

                    This  case is illustrative  of our reasoning.   Through

          its ongoing  correspondence with  Kiddie Products,  Tak How  knew


                                         -15-














          that Kiddie Products employees would stay at its hotel, and could

          easily anticipate  that  they  might  use the  pool,  a  featured

          amenity of the  hotel.  The  district court thoroughly  described

          t   h   i   s           c   o   n   n   e   c   t   i   o   n   .
                      The  Hotel's  solicitation   of  Kiddie's
                      business and the extensive back-and-forth
                      resulting in  Burke's reserving a  set of
                      rooms  for  Kiddie  employees  and  their
                      spouses  set   in  motion   a  chain   of
                      reasonably  foreseeable events  resulting
                      in Mrs. Nowak's  death.  The  possibility
                      that   the   solicitation   would   prove
                      successful  and that one  or more  of the
                      guests staying  at the Hotel as  a result
                      would use the pool was in no sense remote
                      or  unpredictable;  in  fact,  the  Hotel
                      included the pool as an attraction in its
                      promotional materials.

          899  F.  Supp.  at  31.    While  the  nexus  between  Tak  How's

          solicitation  of Kiddie Products' business and Mrs. Nowak's death

          does  not  constitute  a proximate  cause  relationship,  it does

          represent a meaningful  link between  Tak How's  contact and  the

          harm suffered.   Given these circumstances, we think  it would be

          imprudent  to reject  jurisdiction  at this  early  stage of  the

          inquiry.

                    By this approach, we intend to emphasize the importance

          of proximate causation,  but to allow a slight  loosening of that

          standard when circumstances  dictate.  We think  such flexibility

          is necessary in  the jurisdictional inquiry:   relatedness cannot

          merely be  reduced to  one tort  concept  for all  circumstances.

          Though we are  recognizing a  narrow exception  to the  proximate

          cause  test, we  note an  additional  protection for  defendants'

          rights:  "the relatedness requirement  . . . authorizes the court


                                         -16-














          to  take  into   account  the  strength  (or   weakness)  of  the

          plaintiff's relatedness  showing in passing upon  the fundamental

          fairness of allowing the suit to proceed."  Ticketmaster, 26 F.3d
                                                      ____________

          at 207.

                    We recognize it  will not always be easy  to apply this

          flexible  approach to  particular circumstances,  but  that is  a

          function of  the  complexity  of  this  area of  the  law.    The

          jurisdictional  inquiry   is  often  a  difficult  fact  specific

          analysis in which  "[t]he greys are dominant and  even among them

          the shades are  innumerable."  Pleasant Street, 960  F.2d at 1088
                                         _______________

          (citing Estin v. Estin, 334 U.S. 541, 545).
                  _____    _____
































                                         -17-














                               B.  Purposeful Availment

                    The  next  issue  is whether  Tak  How's  contacts with

          Massachusetts constitute  purposeful availment.   The  purposeful

          availment requirement ensures  that jurisdiction is not  premised

          on  "random, isolated,  or fortuitous"  contacts  with the  forum

          state,  Sawtelle,  70 F.3d  at  1391 (quoting  Keeton  v. Hustler
                  ________                               ______     _______

          Magazine,  Inc., 465 U.S.  770, 774), but  rather guarantees that
          _______________

          the exercise of jurisdiction is "fair, just, or reasonable."  Id.
                                                                        ___

          (quoting  Rush v.  Savchuk, 444  U.S. 320, 329).   Our  two focal
                    ____     _______

          points are  voluntariness and  foreseeability.   Ticketmaster, 26
                                                           ____________

          F.3d at 207.  The defendant's contacts with the  forum state must

          be voluntary -- that is,  not based on the unilateral  actions of

          another party  or a third person.  Burger  King, 471 U.S. at 475;
                                             ____________

          Vencedor Mfg. Co. v. Gougler Indus., Inc., 557 F.2d 886, 891 (1st
          _________________    ____________________

          Cir. 1977).  In addition, the defendant's contacts with the forum

          state must  be such  that he should  reasonably anticipate  being

          haled into court there.   World-Wide Volkswagen Corp. v. Woodson,
                                    ___________________________    _______

          444 U.S. 286, 297; Escude Cruz v. Ortho Pharmaceutical Corp., 619
                             ___________    __________________________

          F.2d 902, 905 (1st Cir. 1980).

                    We   think  that   Tak   How's  unprompted   June  1993

          correspondence  with Kiddie Products,  which led directly  to the

          ill-fated  Hong  Kong  trip  in  September  1993,  was  at  least

          minimally sufficient  to satisfy this requirement.  The June 1993

          correspondence contained promotional  materials from the  Holiday

          Inn  designed to further entice Kiddie Products employees to stay

          at the  hotel.  Even  if it may be  said that the  materials were


                                         -18-














          sent  as  part  of  an  on-going  relationship  between  the  two

          companies  that was originally instigated by Kiddie Products, the

          continued correspondence  by Tak  How to  Massachusetts does  not

          amount to  the kind  of unilateral action  that makes  the forum-

          state  contacts involuntary.   Tak  How had an  obvious financial

          interest in  continuing business  with Kiddie  Products, and  the

          June 1993  correspondence is  the best example  of an  unprompted

          solicitation designed  to facilitate that  business relationship.

          In   order  to  be  subject  to  Massachusetts'  jurisdiction,  a

          defendant need  only have  one contact with  the forum  state, so

          long as that contact is  meaningful.  McGee v. International Live
                                                _____    __________________

          Ins. Co., 355 U.S. 220, 223; Burger King, 471 U.S. at 475 n.18.
          ________                     ___________

                    Whether  prompted  or  unprompted, Tak  How's  on-going

          correspondence and relationship with Kiddie Products, designed to

          bring   Massachusetts   residents   into   Hong  Kong,   rendered

          foreseeable the possibility  of being haled into  a Massachusetts

          court.    That  Tak  How  might  have  to  defend  itself  in   a

          Massachusetts  court is certainly foreseeable based on its direct

          correspondence  with Kiddie Products, but its other contacts with

          Massachusetts reveal an even more substantial attempt by  Tak How

          to  purposefully  avail  itself of  the  privilege  of conducting

          business activities in  the state:  Tak How  advertised its hotel

          in  national and  international publications  that circulated  in

          Massachusetts; it solicited by  direct mail some of  its previous

          guests residing in Massachusetts; and Tak How listed its hotel in

          various  hotel guides used  at travel agencies  in Massachusetts.


                                         -19-














          Exercising  jurisdiction  is   appropriate  where  the  defendant

          purposefully  derives  economic  benefits  from  its  forum-state

          activities.  Pritzker, 42 F.3d  at 61-62 (citing Burger King, 471
                       ________                            ___________

          U.S. at 476).



                               C.  The Gestalt Factors

                    Our conclusion that minimum contacts exist in this case

          does  not end  the inquiry.   Personal  jurisdiction may  only be

          exercised if  it comports with traditional notions  of "fair play

          and substantial justice."   International Shoe, 326  U.S. at 320.
                                      __________________

          Out of  this  requirement,  courts  have developed  a  series  of

          factors that bear on the  fairness of subjecting a nonresident to

          a  foreign tribunal.   Burger  King,  471 U.S.  at 477;  Pleasant
                                 ____________                      ________

          Street,  960  F.2d at  1088.    These  "gestalt factors"  are  as
          ______

          follows:

                      (1) the defendant's  burden of appearing,
                      (2)   the  forum   state's  interest   in
                      adjudicating   the   dispute,   (3)   the
                      plaintiff's    interest   in    obtaining
                      convenient and effective  relief, (4) the
                      judicial system's  interest in  obtaining
                      the  most  effective  resolution  of  the
                      controversy, and (5) the common interests
                      of    all    sovereigns    in   promoting
                      substantive social policies.

          Id. (citing Burger  King, 471 U.S. at  477).  The purpose  of the
          ___         ____________

          gestalt factors  is to  aid  the court  in achieving  substantial

          justice, particularly where the minimum contacts question is very

          close.    In  such  cases,   the  gestalt  factors  may  tip  the

          constitutional  balance.   Ticketmaster,  26  F.3d at  209.   The
                                     ____________

          Supreme  Court's decision in  Asahi Metal Indus.  Co. v. Superior
                                        _______________________    ________

                                         -20-














          Court, 480  U.S.  102, is  one  such example.     In  Asahi,  the
          _____                                                 _____

          question of minimum contacts divided  the Court, but eight of the

          Justices agreed  that exercising personal jurisdiction  would not

          comport with notions of fair  play and substantial justice.  This

          Court has thus  adopted a sliding scale approach:   "[T]he weaker

          the plaintiff's showing on the first  two prongs (relatedness and

          purposeful availment), the less a defendant need show in terms of

          unreasonableness to  defeat jurisdiction."  Ticketmaster, 26 F.3d
                                                      ____________

          at  210.   The  reverse is  equally  true:   a strong  showing of

          reasonableness may  serve to fortify  a more marginal  showing of

          relatedness and  purposefulness.   See id.  (citing Donatelli  v.
                                                 ___          _________

          National Hockey  League, 893 F.2  459, 465 (1st Cir.  1990)); see
          _______________________                                       ___

          also Sawtelle, 70 F.3d at 1396.
          ____ ________



                    1.  The Burden of  Appearance.  It would undoubtedly be

          burdensome for  Tak How to  defend itself in Massachusetts:   Tak

          How's only  place of business  is in Hong  Kong.  This  Court has

          recognized,  however, that it  is almost always  inconvenient and

          costly  for  a  party  to litigate  in  a  foreign  jurisdiction.

          Pritzker, 42 F.3d at 64.  Thus for this particular gestalt factor
          ________

          to have  any significance,  the defendant  must demonstrate  that

          "exercise of jurisdiction in the present circumstances is onerous

          in  a special,  unusual,  or  other constitutionally  significant

          way."  Id.  Tak How alleges  nothing special or unusual about its
                 ___

          situation beyond the ordinary cost and inconvenience of defending

          an action  so far  from its place  of business.   Under Pritzker,
                                                                  ________


                                         -21-














          that is not enough:  it simply cannot be the case that every Hong

          Kong corporation is  immune from suit in Massachusetts.   But see

          Ticketmaster,   26  F.3d  at   210  (noting  the   importance  of
          ____________

          considering  the distance  the defendant  must  travel in  giving

          weight to this  factor in the analysis).   We are also  persuaded

          that the burden on Tak How will be minimized by, for example, the

          availability of transcripts  from the Coroner's Court for  use in

          the Massachusetts proceeding.

                    We have also noted that  the burden of appearance is an

          important gestalt factor  primarily because it allows  a court to

          guard against harassing litigation.  Ticketmaster, 26 F.3d at 211
                                               ____________

          (citing  Gulf Oil  Corp. v. Gilbert,  330 U.S. 501,  508)).  Were
                   _______________    _______

          there any  indication in the  record that the Nowaks  brought the

          present  suit to  harass Tak  How,  the burden  of appearance  in

          Massachusetts might weigh in Tak How's favor; however, the record

          does not so indicate.



                    2.  Interest of  the Forum.  Although a forum state has

          a significant interest in obtaining jurisdiction over a defendant

          who causes tortious  injury within its borders,  Ticketmaster, 26
                                                           ____________

          F.3d  at  211, that  interest  is  diminished  where  the  injury

          occurred outside  the forum  state.  Sawtelle,  70 F.3d  at 1395.
                                               ________

          Nonetheless, our task is not  to compare the interest of  the two

          sovereigns -- the place  of the injury and forum state  -- but to

          determine whether the forum state has an interest.  Id.  While it
                                            ___               ___

          is true that the injury in this case occurred in Hong Kong, it is


                                         -22-














          equally true (unlike Sawtelle) that significant events took place
                               ________

          in Massachusetts giving  it an interest in this  litigation.  Tak

          How  solicited business  in the  state.   As  the district  court

          noted,  Massachusetts has  a strong  interest  in protecting  its

          citizens  from out-of-state solicitations  for goods  or services

          that prove to be unsafe, and it also has an interest in providing

          its citizens  with a  convenient forum in  which to  assert their

          claims.   Burger King,  471 U.S. at  473.   Given the forum-state
                    ___________

          activities  that took  place  prior  to  Mrs. Nowak's  death,  we

          conclude that Massachusetts  has a strong interest  in exercising

          jurisdiction even though the injury took place in Hong Kong.



                    3.    The  Plaintiffs' Convenience.    This  Court must

          accord deference  to the Nowaks' choice of a Massachusetts forum.

          See,  e.g., Foster-Miller,  46 F.3d  at 151.   Regardless,  it is
          ___   ____  _____________

          obvious that  a Massachusetts  forum is more  convenient for  the

          Nowaks  than another  forum,  particularly  a  Hong  Kong  forum.

          Further, there  exists substantial  doubt that  the Nowaks  could

          adequately resolve  the dispute in  Hong Kong:  Hong  Kong's laws

          regarding contingency fees and posting of security bonds with the

          court  make litigation  economically onerous for  plaintiffs, and

          the future of Hong Kong's political system is also uncertain.



                    4.  The Administration of Justice.  This factor focuses

          on the judicial system's interest in obtaining the most effective

          resolution of  the controversy.   Usually this factor is  a wash,


                                         -23-














          Ticketmaster, 26 F.3d at 211;  Sawtelle, 70 F.3d at 1395,  but in
          ____________                   ________

          one case we held that preventing piecemeal litigation might favor

          one jurisdiction over another.  Pritzker, 42 F.3d at 64.  Tak How
                                          ________

          argues  that a Massachusetts action would require the application

          of Hong Kong law, the use of interpreters, and the transportation

          of  key  witnesses  from  Hong  Kong  that  are  not  subject  to

          compulsory  process.   On the  other  hand, the  Nowaks point  to

          possible political instability in Hong Kong as the British Colony

          prepares  to revert  to Chinese  sovereignty.   Interpreters  and

          transportation of  witnesses would  likely also  be necessary  in

          Hong   Kong.    We  conclude  that   the  question  of  efficient

          administration  of justice favors  a Massachusetts forum.   Given

          the likelihood that the Nowaks would face great obstacles in Hong

          Kong due to possible political  instability, as well as Hong Kong

          laws  on contingency fees and security bonds, efficiency concerns

          require a Massachusetts  forum.  See United Elec.  Workers v. 163
                                               _____________________    ___

          Pleasant St. Corp.,  987 F.2d 39, 46-47 (1st  Cir. 1993) (finding
          __________________

          that fourth gestalt factor weighed against a foreign jurisdiction

          where "it  is  far from  clear that  there will  be any  judicial

          resolution,  let alone the most effective judicial resolution, of

          this   controversy"  if   the   case   could   not   proceed   in

          Massachusetts).



                    5.   Pertinent  Policy Arguments.    The final  gestalt

          factor addresses  the interests  of the  affected governments  in

          substantive  social policies.   Massachusetts has an  interest in


                                         -24-














          protecting  its citizens from out-of-state providers of goods and

          services as well as affording  its citizens a convenient forum in

          which to bring their claims.  These interests are best  served by

          the exercise  of  jurisdiction in  Massachusetts.   On the  other

          hand, Hong Kong has an interest in protecting visitors to promote

          and  preserve its tourism industry, in protecting its businesses,

          and  in providing all parties with a  convenient forum.  Only one

          of Hong Kong's interests -- protecting its businesses -- might be

          compromised  by  a  Massachusetts   forum,  while  Massachusetts'

          primary  interest  --   protecting  its  citizens  --   might  be

          compromised by  a Hong Kong  forum.   We thus  conclude that  the

          final Gestalt factor tips only slightly in the Nowaks' favor.

                    On balance, we think the gestalt factors weigh strongly

          in  favor  of  a   Massachusetts  forum.    When  considered   in

          combination with the  Nowaks' adequate showing  on the first  two

          prongs of the constitutional test, we think that, on the specific

          facts of this case, the exercise of jurisdiction in Massachusetts

          is reasonable and does  not offend the notions  of fair play  and

          substantial  justice.    The  district  court therefore  properly

          denied  Tak How's  Rule 12(b)(2)  motion to  dismiss for  lack of

          personal jurisdiction.



                                         III.

                    Tak  How  next  appeals the  denial  of  its motion  to

          dismiss  for forum  non conveniens.   The  doctrine of  forum non
                       _____________________                      _________

          conveniens permits  a trial court,  on a discretionary  basis, to
          __________


                                         -25-














          dismiss  a case  where an  alternative  forum is  a available  in

          another country  that is fair  to the  parties and  substantially

          more convenient for them or the courts.  Howe v.  Goldcorp Invs.,
                                                   ____     _______________

          Ltd., 946 F.2d 944, 947 (1st  Cir. 1991), cert. denied, 502  U.S.
          ____                                      ____________

          1095.   Application  of the  doctrine is  committed to  the sound

          discretion  of  the  trial  court,  whose decision  will  not  be

          reversed absent a clear abuse of discretion.  Mercier v. Sheraton
                                                        _______    ________

          Int'l, Inc.,  981 F.2d 1345,  1349 (1st Cir. 1992)  (Mercier III)
          ___________                                          ___________

          (appeal  after remand  of Mercier II,  infra; we  have previously
                                    __________   _____

          referred to  the district  court's opinion  as Mercier  I), cert.
                                                         __________   _____

          denied, 508  U.S. 912.   This Court finds an  abuse of discretion
          ______

          only where the  district court (1) failed to  consider a material

          factor, (2) substantially relied on an immaterial  factor, or (3)

          assessed  the appropriate factors  but clearly erred  in weighing

          those factors.   Mercier v.  Sheraton Int'l, Inc., 935  F.2d 419,
                           _______     ____________________

          423  (1st  Cir. 1991)  (Mercier  II).   Since there  is  a strong
                                  ___________

          presumption in favor of a plaintiff's forum choice, the defendant

          must  bear the  burden of  proving  both the  availability of  an

          adequate alternative forum and that considerations of convenience

          and  judicial efficiency strongly  favor litigating the  claim in

          the alternative forum.  Id. at  423-424; Mercier III, 981 F.2d at
                                  ___              ___________

          1349.

                    We  have  emphasized  that the  doctrine  of  forum non
                                                                  _________

          conveniens  is  used  to  avoid  "serious  unfairness"  and  that
          __________

          plaintiff's  choice of  a forum  will  be disturbed  only rarely.

          Howe, 946 F.2d  at 950 (citing Piper  Aircraft Co. v.  Reyno, 454
          ____                           ___________________     _____


                                         -26-














          U.S.  235, 259;  Gulf Oil Corp.  v. Gilbert, 330  U.S. 501, 507).
                           ______________     _______

          The Supreme Court has provided a list of relevant considerations.

          "Private interest"  factors include  relative ease  of access  to

          sources of proof, availability of compulsory process, comparative

          trial  costs,  ability  to enforce  a  judgment,  "and  all other

          practical problems that  make trial of  a case easy,  expeditious

          and inexpensive."   Gilbert, 330 U.S. at 508.   "Public interest"
                              _______

          factors  include  the  practical  difficulties  of  unnecessarily

          imposing upon  a busy court  the obligation to  hear a case  more

          fairly  adjudicated elsewhere, the imposition on jurors called to

          hear a  case that has  no relation  to their  community, and  the

          familiarity of the court with applicable laws.  Id. at 508-509.
                                                          ___

                    One  final principle informs our analysis in this case.

          The Supreme Court has stated that,

                      Where  there are  only two  parties  to a
                      dispute, there  is  good  reason  why  it
                      should be  tried in the  plaintiff's home
                      forum  if that has  been his choice.   He
                      should not  be deprived  of the  presumed
                      advantages  of   his  home   jurisdiction
                      except  upon  a  clear  showing of  facts
                      which   either    (1)   establish    such
                      oppressiveness   and   vexation    to   a
                      defendant as to be  out of all proportion
                      to plaintiff's convenience,  which may be
                      shown to be slight or nonexistent, or (2)
                      make   trial   in    the   chosen   forum
                      inappropriate  because of  considerations
                      affecting the court's  own administrative
                      or legal problems.

          Koster v. Lumbermens Mut. Co., 330 U.S. 518, 524.
          ______    ___________________

                    Based on  these principles, we  are unable to  say that

          the district  court  abused  its discretion.    Tak  How's  first

          argument is  that  the district  court failed  to articulate  its

                                         -27-














          reasons for  denying the motion to dismiss.   It is true that the

          district judge  chose to  rule on the  motion orally  rather than

          issue a written opinion; however, it is apparent from the hearing

          transcript  that the judge  considered relevant factors.   Before

          ruling on  the motion,  the judge  questioned  counsel about  the

          plaintiffs'  right to  have a  jury  trial in  Hong Kong,  and he

          stated  that granting the  motion would be  outcome determinative

          because,  as a  practical matter  and due  to additional  burdens

          under Hong Kong laws,  it would be very difficult  for the Nowaks

          to bring suit there.  The  hearing transcript is certainly not as

          detailed  as  the  written  opinion  denying  the  jurisdictional

          motion, but the court was entitled to rule on the motion orally.

                    The  question here is whether the district court failed

          to consider  a material factor  or failed to correctly  weigh the

          factors.   Given  that Tak  How  has the  burden  of proving  the

          elements of  forum non  conveniens, we shall  review the  factors
                       _____________________

          alleged to justify dismissal that  Tak How has put forth, bearing

          in mind that  Koster, supra, places a heavy  burden on defendants
                        ______  _____

          where,  as here,  plaintiffs brought  suit in  their home  forum.

          There is no question that Hong Kong is an available forum, as Tak

          How is subject to  service of process in Hong Kong.   Mercier II,
                                                                __________

          935 F.2d at 424.   There also appears to be  no dispute that Hong

          Kong would provide an adequate forum in the sense that its courts

          recognize a similar cause of action.   Tak How next contends that

          the private interest factors of Gilbert, supra, weigh in favor of
                                          _______  _____

          a Hong Kong  forum:  it notes  that it would bear  the expense of


                                         -28-














          transporting witnesses to  the United States, that  it might face

          difficulty in  joining third-party defendants in  a Massachusetts

          court, and that a Hong Kong court might not enforce  the judgment

          of a  Massachusetts court.   These factors do not  constitute the

          type   of  "oppressiveness  and   vexation"  required  by  Koster
                                                                     ______

          disproportionate  to the Nowaks'  inconvenience of suing  in Hong

          Kong.  The Nowaks  would also have to transport witnesses to Hong

          Kong and later seek to  enforce a foreign judgment in their  home

          state.  In addition, the Nowaks point to private interest factors

          that weigh in  their favor:  they would  face financial obstacles

          because Hong  Kong law  prohibits contingent  fee agreements  and

          requires that  they deposit  an amount equal  to Tak  How's costs

          with  the  court;  also, possible  political  instability  in the

          region could add further difficulties to litigation in Hong Kong.

          Regardless  of  the difficulties  the Nowaks  might face  in Hong

          Kong,  it is  enough that  Tak How  failed to  demonstrate either

          oppressiveness to itself or only a slight or nonexistent interest

          in convenience on the Nowaks' part.  Koster, 330 U.S. at 524. 
                                               ______

                    Nor  is Tak  How able  to  demonstrate public  interest

          factors  that  make  trial in  Massachusetts  inappropriate.   It

          points to the fact that Massachusetts choice-of-law rules require

          application of Hong Kong law, and that a Hong Kong court would be

          "more at home" with such laws.  This concern is not sufficient to

          overcome  the presumption in  favor of plaintiffs'  chosen forum.

          This  Court  has previously  noted  that  "the  task of  deciding

          foreign  law [is]  a chore  federal courts  must often  perform."


                                         -29-














          Mercier III, 981 F.2d at  1357 (quoting Manu Int'l, S.A.  v. Avon
          ___________                             ________________     ____

          Prods., Inc., 641 F.2d 62, 68 (2d Cir. 1981)).  We therefore give
          ____________

          this factor  little weight.   Id.   Tak  How points  to no  other
                                        ___

          public interest factor that weighs against a Massachusetts forum.














































                                         -30-














                                         IV.

                    For  the   foregoing  reasons,  the   district  court's

          decision  to  deny Tak  How's  motions  to  dismiss for  lack  of

          personal jurisdiction and on the grounds of  forum non conveniens
                                                       ____________________

          is AFFIRMED.












































                                         -31-









